           Case 23-31037-swe7 Doc 38 Filed 08/23/23 Entered 08/23/23 23:16:14                                                  Desc
                             Imaged Certificate of Notice Page 1 of 3
ntcclm (rev. 12/15)
                                       UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS


In Re:                                                        §
Highland Select Equity Master Fund, L.P.                      §    Case No.: 23−31037−swe7
                                                              §    Chapter No.: 7
                                           Debtor(s)          §


                                            NOTICE TO FILE CLAIM
TO THE DEBTOR, CREDITORS AND OTHER PARTIES IN INTEREST:

        1. Notice was previously given that an order for the relief under the U.S. Bankruptcy Code had been entered on
           a petition filed by or against the above referenced debtor.
        2. The original notice states that there were no apparent assets and the creditors should not file proofs of claim.
           However, assets have now been recovered from which it appears that payment to creditors may be possible.
           Accordingly, November 16, 2023 is fixed as the last day for filing proofs of claim. Governmental units
           should refer to 11 USC section 502(b)(9) to determine the last day for filing a proof of claim.
        3. A creditor must now file a proof of claim within the time limit in order to share in any distribution from the
           estate, except as provided in 11 U.S.C Section 501(c). A proof of claim must conform substantially to
           Official Form 410. A Proof of Claim form ("Official Form 410") can be filed online at the Bankruptcy
           Court's Website: (http://www.txnb.uscourts.gov) or at any bankruptcy clerk's office. It is necessary to file a
           claim even if the debtor has scheduled you correctly as a creditor on the lists filed with the Court. If you have
           previously filed a proof of claim in this case, this notice does not require you to refile your claim. To receive
           acknowledgement of receipt by the clerk, enclose a copy of the claim and an adequate sized self−addressed
           stamped envelope.
        4. Claims must be filed with the:
                      U.S. Bankruptcy Court 1100 Commerce Street
                      Room 1254
                      Dallas, TX 75242

FILE YOUR CLAIM ONLINE

The United States Bankruptcy Court for the Northern District of Texas now accepts claims in all cases electronically
via the Online Claim Filing System. The Court strongly encourages e−Filing your Proof of Claim.

E−filing is fast, free and does not require a login or password.

To learn more and begin filing your Proof of Claim, please visit our website at:
http://www.txnb.uscourts.gov

CLAIMS ADDRESSED OR SENT TO THE DEBTOR, TRUSTEE, OR UNITED STATES TRUSTEE WILL NOT
BE FILED.



DATED: 8/21/23                                     FOR THE COURT:
                                                   Robert P. Colwell, Clerk of Court

                                                   by: /s/Chris Tello, Deputy Clerk
Trustee: Scott M. Seidel
            Case 23-31037-swe7 Doc 38 Filed 08/23/23 Entered 08/23/23 23:16:14                                                                  Desc
                              Imaged Certificate of Notice Page 2 of 3
                                                              United States Bankruptcy Court
                                                                Northern District of Texas
In re:                                                                                                                 Case No. 23-31037-swe
Highland Select Equity Master Fund, L.P.                                                                               Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Aug 21, 2023                                               Form ID: NOA                                                              Total Noticed: 11
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 23, 2023:
Recip ID                 Recipient Name and Address
db                     + Highland Select Equity Master Fund, L.P., 100 Crescent Court, Suite 1850, Dallas, TX 75201-7817
aty                      Jeremy A. Root, Stinson LLP, 230 W. McCarty Street, Jefferson City, MO 65101-1553
20157144               + Deborah Deitsch Perez, Stinson LLP, 2200 Ross Avenue, Suite 2900, Dallas, TX 75201-2733
20157145               + Highland Capital Management, LP, 100 Crescent Court, Suite 1850, Dallas, TX 75201-7817
20157147               + Mazin Sbaiti, Sbaiti & Company PLLC, Sbaiti & Company PLLC, 2200 Ross Avenue, Suite 49900W, Dallas, TX 75201-2790
20157148               + Pachulski, Stang Ziehl & Jones LLP, 10100 Santa Monica Blvd, 13th Floor, Los Angeles, CA 90067-4114
20157149               + The Dugaboy Investment Trust, c/o Heller, Draper & Horn, L.L.C., 650 Poydras St., Suite 2500, New Orleans, LA 70130-6175
20157151                 U.S. Attorney, Office of the U.S. Attorney, 3d Floor, 1100 Commerce St., Dallas, TX 75242

TOTAL: 8

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
20157146                  EDI: IRS.COM
                                                                                        Aug 22 2023 01:07:00      Internal Revenue Service, PO Box 7346,
                                                                                                                  Philadelphia, PA 19101-7346
20157150                  Email/Text: pacer@cpa.state.tx.us
                                                                                        Aug 21 2023 21:14:00      TX Comptroller of Public Accounts, Revenue
                                                                                                                  Accounting Division, Bankruptcy Section PO Box
                                                                                                                  13528, Austin, TX 78711
20157152               + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        Aug 21 2023 21:13:00      United States Trustee, 1100 Commerce Street
                                                                                                                  Room 976, Dallas, TX 75242-0996

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 23, 2023                                            Signature:           /s/Gustava Winters
            Case 23-31037-swe7 Doc 38 Filed 08/23/23 Entered 08/23/23 23:16:14                                                            Desc
                              Imaged Certificate of Notice Page 3 of 3
District/off: 0539-3                                               User: admin                                                              Page 2 of 2
Date Rcvd: Aug 21, 2023                                            Form ID: NOA                                                           Total Noticed: 11



                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 18, 2023 at the address(es) listed
below:
Name                             Email Address
Deborah Rose Deitsch-Perez
                                 on behalf of Creditor The Dugaboy Investment Trust deborah.deitschperez@stinson.com
                                 patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Gregory V. Demo
                                 on behalf of Creditor Highland Capital Management L.P. gdemo@pszjlaw.com,
                                 jo'neill@pszjlaw.com;ljones@pszjlaw.com;jfried@pszjlaw.com;ikharasch@pszjlaw.com;jmorris@pszjlaw.com;jpomerantz@pszj
                                 law.com;hwinograd@pszjlaw.com;kyee@pszjlaw.com;lsc@pszjlaw.com

Hayley R Winograd
                                 on behalf of Creditor Highland Capital Management L.P. hwinograd@pszjlaw.com

Hudson M. Jobe
                                 on behalf of Debtor Highland Select Equity Master Fund L.P. hjobe@qslwm.com, nchancellor@qslwm.com

Jeffrey Nathan Pomerantz
                                 on behalf of Creditor Highland Capital Management L.P. jpomerantz@pszjlaw.com

Jerry C. Alexander
                                 on behalf of Trustee Scott M. Seidel alexanderj@passmanjones.com chandlers@passmanjones.com

Melissa S. Hayward
                                 on behalf of Creditor Highland Capital Management L.P. MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Scott M. Seidel
                                 scott@scottseidel.com susan.seidel@earthlink.net;sms01@trustesolutions.net

Scott M. Seidel
                                 on behalf of Trustee Scott M. Seidel scott@scottseidel.com susan.seidel@earthlink.net;sms01@trustesolutions.net

United States Trustee
                                 ustpregion06.da.ecf@usdoj.gov

Zachery Z. Annable
                                 on behalf of Creditor Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 11
